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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES INSTITUTE FOR PEACE,
 et al.,

               Plaintiffs,

        v.
                                                        Civil Action No. 25-0804 (BAH)
 KENNETH JACKSON,
 Assistant to the Administrator for
 Management and Resources for USAID, et al.,

               Defendants.


                                  NOTICE OF APPEAL

      Defendants respectfully provide notice that they hereby appeal to the United States Court

of Appeals for the District of Columbia Circuit from the Court’s Order of May 19, 2025 (ECF

No. 39), and supporting Memorandum Opinion (ECF No. 40), which granted Plaintiffs’ motion

for summary judgment and denied Defendants’ motion for summary judgment.

 Dated: May 21, 2025                         Respectfully submitted,
        Washington, DC
                                             JEANINE FERRIS PIRRO
                                             United States Attorney


                                             By:           /s/ Brian P. Hudak
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